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        EXHIBIT I
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     THE ARBITRATION TRIBUNALS OF THE AMERICAN
     ARBITRATION ASSOCIATION
     - - - - - - - - - - - - - - - - - - - - x
     In the Matter of Arbitration between
     SPENCER MEYER,
               Claimant,
                           Les Weinstein
              -against-      AAANo. 01-18-0002-1956
       Uber Technologies, INC.,
               Respondent.
     - - - - - - - - - - - - - - - - - - - - x
                      October 25, 2019
                      9:00 a.m.

                               BOIES SCHILLER FLEXNER LLP
                               55 Hudson Yards
                               New York, New York 10001

     B E F O R E:

                     LES WEINSTEIN, The Arbitrator



                                    - - -




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 1
 2   APPEARANCES:
 3
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12             ALEXANDRA JUMPER, ESQUIRE
               WILLIAM WEAVER, ESQUIRE
13
14   ALSO PRESENT:
15       KALEIGH WOOD,Paralegal
16       ERIC LIPMAN, ESQUIRE, Uber
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                                                                 Page 811
 1                 D. Carlton - Direct
 2   the testimony from Ms. Kennington you
 3   reviewed before this hearing happened and
 4   gave a short report about.
 5                   Now, we are disputing in this
 6   arbitration whether Ms. Kennington's
 7   testimony is worth any weight whatsoever, but
 8   let's go ahead and assume its given some
 9   weight.       Ms. Kennington states that drivers
10   generally recorded that they earn more money
11   on a surged ride, although some drivers
12   reported they did not get as many riders as
13   they wanted during a surge.
14                   From a point of view of an
15   economist, if we accept that statement as
16   true, is there any consequence to it?
17           A.      No.    I think the statement is true
18   and I think the statement makes the point
19   that surge pricing is designed to increase
20   supply and lower waiting time, so the fact
21   that a driver makes more money in surge,
22   that's the whole point in surge, raise the
23   price to get drivers, so if they get the
24   business, they make more money, that's the
25   point of surge.
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 1
 2   we    started.        The     major     arguments        and      the

 3   crux of this case is the very same thing we

 4           were arguing before Judge Rakoff, Mr.
 5           Isaacson and I, in March of 2016.                       And I
 6           think after all of this, if you clear
 7           all the evidence away and you see
 8           through to the facts as everyone admits
 9           they are, you will see this turns on
10           whether Judge Rakoff got it right. And we
11           submit he did, and you should follow his
12           decision.
13                   Very quickly, just a blast from the
14           past. This case was about unhealthy oil
15           markets. They were failing so badly that
16           wells were being abandoned. If you read
17           through this very dense case, which I did
18           again last night, there were price wars,
19           distressed gasoline was flying onto the
20           market, businesses were going out of
21           business because they couldn't organize
22           price and the government did not
23           immunize them, didn't step in far
24           enough.       The government agencies were
25           encouraging the price fixing that
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 1
 2                   MR. FELDMAN:         Then I can flip
 3           through all of this and get straight to
 4           Leegin and Interstate Circuit.                   I have a
 5           lot here.
 6                   Because the points are, yes, rides
 7           could be sold and there is evidence on
 8           that, obviously, but the matches could
 9           be made, right.           We heard testimony that
10           the batch matching works without surge
11           pricing and there are lots of
12           alternatives that we maybe spent too
13           much time going through. But there are a
14           lot of alternatives, including Uber
15   selling the rides itself, which were not possible

16           as an alternative in BMI.
17                   So I will flip through many, many
18           slides and I can come back to them if it
19           comes up later.           But BMI is not going to
20           be proven in this particular case.
21                   So where does that leave us.                    That
22           leaves us where we began this case back
23           in front of Judge Rakoff in March of
24           2016, whether it's horizontal.                   Uber's
25           arguments haven't changed and I want to
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 1
 2           show you that the way they're making the
 3           argument now is the same as the way they
 4           were making the argument before and that
 5           the deciding -- the dispositive legal
 6           points haven't changed either.
 7                   So here is the argument they made
 8           before.       It was Mr. Isaacson and I back
 9           then as well.          And we have the oral
10           argument transcript in the binders that
11           Boies Schiller has prepared for you so
12           you can see this for yourself.                   The
13           argument is that if you accept this is a
14           horizontal conspiracy, then you have a
15           conspiracy of hundreds of thousands of
16           people who have never met each other,
17           sprawled across the nation, all of whom
18           are jointly and severally liable and
19           that simply cannot be the case.                    You
20           heard the same argument here on day one
21           and we need factual evidence that all of
22           these millions of drivers are somehow
23           collaborating with each other, and if
24           you accept our theory,              then every driver

25           in Uber in America is jointly and
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 1
 2           severally liable for all the damage
 3           that's caused by the app or the surge
 4           pricing.       And I will put on the record
 5           we are not going after Uber drivers.
 6                   But those were the arguments that
 7           Judge Rakoff rejected. They were not the
 8           only arguments he rejected, but they
 9           were one of them.            Judge Rakoff rejected
10      this, explaining the capacity to orchestrate
11           such an agreement was the genius
12           of Mr. Kalanick and his company, which
13           through the magic of smart phone
14           technology can invite hundreds of
15           thousands of drivers from far flung
16           locations to agree to Uber's terms,
17           which is his recitation of our
18           complaint, to be fair.               And then he
19           explained that Uber's digitally
20           decentralized nature, his words not
21           mine, does to the prevent the app from
22           constituting a marketplace through which
23           Uber organized a horizontal conspiracy
24           among drivers. And the advancement of
25           technological means need not leave
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                                                                 Page 939
 1
 2         antitrust law behind.
 3                  So what else was argued? And this is
 4         probably the more significant argument.
 5           There was a debate at the time over
 6           whether this was a Leegin case or this
 7          was an Interstate Circuit case, which is
 8           the same debate I think we are having
 9           here today as well.
10                   ARBITRATOR WEINSTEIN:              Except one
11           is the 20th century, one is the 21st
12           century.       When I was a young lawyer I
13           was citing Interstate.
14                   MR. FELDMAN:         We will talk about
15           the cases that continue to cite
16           Interstate Circuit, not just Judge
17           Rakoff, but United States versus Apple
18           is centered around Interstate Circuit,
19           the Toys R Us case we talked about today
20           as well.       The same arguments are made
21           that Leegin should apply rather than
22           Interstate Circuit. And Mr. Isaacson had
23           argued that what we are trying to do by
24           saying this is one conspiracy is avoid
25           the line of cases with Leegin that say,
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                                                                  Page 940
 1
 2           no look vertical relationships
 3           properly done are innocent behavior.
 4                   This was, if you look at the
 5           transcript, this was the main front of
 6           the battle for both sides before Judge
 7           Rakoff and we won that battle.                    We said,
 8           no, recent jurisprudence on vertical
 9           resale price maintenance agreements does
10           not, as defendants would have it, as
11           defendant would have it, undermine
12           plaintiff's claim of an illegal
13           horizontal agreement.
14                   That here, unlike in Leegin, Uber
15           is not selling anything to drivers that
16           is then resold to riders.                 Moreover, the
17           justifications for rule of reason
18           treatment of resale price maintenance
19           agreements offered in Leegin are not
20           directly applicable.
21                   You heard Dr. Carlton tell you
22           today about the free rider problem and
23           that he made an argument in the Toys
24           R Us case but he didn't make a similar
25           argument here.
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 1
 2                   So I will explain in more detail
 3           why I think Judge Rakoff got it right
 4           but --
 5                   ARBITRATOR WEINSTEIN:              It was at
 6           the pleading stage.
 7                   MR. FELDMAN:          It was at the
 8           pleading stage.            It did not decide the
 9           case.
10                   ARBITRATOR WEINSTEIN:              It's not law
11           of the case and it's not preclusive,
12           it's not issue preclusive.                 It never
13           became final.          There was no right to
14           appeal.
15                   MR. FELDMAN:          Let me address
16           finality.        So finality for issue
17           preclusion purposes is not what it seems
18           to be.
19                   ARBITRATOR WEINSTEIN:              I read your
20           brief and I have my doubts but I will
21           see more of that later on.                 They have
22           not had a chance yet to respond to that
23           so let us not do it twice before they
24           have one chance to answer it.
25                   MR. FELDMAN:          I will argue it
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                                                                  Page 942
 1
 2           later, whenever you like.
 3                   ARBITRATOR WEINSTEIN:              I'm assuming
 4           -- certainly they will brief it.                     They
 5           didn't know it was coming because they
 6           think it doesn't apply so they didn't
 7           preemptively discuss it.                So let's move
 8           on.
 9                   MR. FELDMAN:          Sure.     So why doesn't
10           Interstate Circuit apply in the first
11           place. If you go back to Interstate
12           Circuit and look at what the government
13           argued and what the Supreme Court
14           decided, it's very much the situation we
15           have here.         What Dr. Carlton called that
16           conditionality.            The government argued
17           that each distributor in that case,
18       these were the major movie distributors who
19           were invited by a big theatre company in
20           Texas to agree to certain terms, 25 cent
21           tickets and no second runs.                  The
22           government argued there that each
23           distributor would benefit by unanimous
24           action where otherwise the restrictions
25           would probably injure the distributors
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 1
 2           who impose them, right. Meaning tying
 3           yourself like Ulysses to the mast to a
 4           restraint-- that only succeeds if
 5           everybody else ties themself to the mast.
 6    It doesn't make any sense unless you know
 7           that everyone else is not going to
 8           compete against you.
 9                   Interestingly, and we can get to
10           this too, later Justice Jackson who was
11           a solicitor general who argued
12           Interstate Circuit and who is also on
13           the brief, in his brief he argued that
14           even if the evidence before the court
15           failed to show an agreement amongst the
16           distributors, their common agreement
17           with Interstate Circuit made them
18           parties to the conspiracy. That it was
19           immaterial that the several distributors
20           may have taken the             step without a prior
21           understanding or agreement with each
22           other as to concert of action.                    And the
23            Supreme Court agreed. The Supreme Court
24            said an agreement was not a prerequisite,
25           meaning that actual communication among
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                                                                  Page 944
 1
 2           the rim was not a prerequisite.                    If you
 3           could get to that same place of having a
 4           rim where they each, knowing that
 5           concerted action was contemplated and
 6           invited, gave their adherence to the
 7           scheme and participated in it.                    Each was
 8           advised that the others were asked to
 9           participate just like an Uber driver
10           partner knew that every other driver
11           partner has that same agreement. It's
12           online for the world to see. Each knew
13           that cooperation was essential to the
14           successful operation of the plan,
15           meaning if somebody else could charge
16           their own fare             and not surge a rider,
17           they would get the rider over you and
18           they knew the plan, if carried out,
19           would result in a restraint and knowing
20           all that, they participated.
21                   I will show you this diagram we
22           have, courtesy of Uber.                Uber invited --
23           this was the diagram that Uber used to
24           make the point that this wasn't
25           Interstate Circuit. But this diagram is
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                                                                  Page 945
 1
 2           Interstate Circuit.              You have Uber in
 3           the middle, you have millions of drivers
 4           all having agreements with Uber.                     The
 5           reason there is a rim on this conspiracy
 6           is that the drivers would not agree to
 7             surge unless all drivers were bound
 8           to surge pricing.             It only works with
 9           unanimous uniform raising of prices,
10           which is the argument we made to Judge
11           Rakoff as well.
12                   How is that Interstate Circuit? We
13           substituted little car icons for little
14           movie picture icons and now we have
15           Interstate Circuit, same diagram
16           otherwise.         What did Interstate Circuit
17           do? They were in the middle and invited
18           all these distributors to limit first
19           run movies.
20                   ARBITRATOR WEINSTEIN:              It wasn't a
21           price restraint.
22                   MR. FELDMAN:          It wasn't a price
23           restraint, our case is easier in that
24           way, but it was a per se restraint and
25           it also worked only because there was
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 1
 2           available to us here which we are very
 3           appreciative of, but if Uber is going to
 4           make an argument about its finances and
 5           what it can afford to do and what it
 6           can't afford to do it has access to all
 7           those witnesses it didn't put it in.
 8                   ARBITRATOR WEINSTEIN:              I'm just
 9           asking you, you are asking, for the
10           purpose of our being here with all of
11           these people is, you think I have the
12           power under the evidence you presented
13           to enjoin surge pricing nationwide?
14                   MR. FELDMAN:          We do.
15                   ARBITRATOR WEINSTEIN:              Do you know
16           of a single case in which an individual
17           in an antitrust case got a nationwide
18           injunction?
19                   MR. FELDMAN:          So I could find you
20           some and I would be happy to submit them
21           in post hearing briefing.
22                   ARBITRATOR WEINSTEIN:              I would
23           think -- if the answer is you think
24           there is, cite it to me.                I know of
25           none.
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 1
 2           three days you've spent with us, for the
 3           work you've done before that, the work
 4           we will be asking you to do from this
 5           point forward.           We asked you for a
 6           reasoned award because we believe
 7           strongly that there should be a
 8           declaration that a company that does
 9           something like this is to be lauded under
10           the antitrust laws and not condemned
11           because otherwise the antitrust laws are
12           taking a very dangerous turn and going
13           down a very dark alley.                All of us who
14           worked hard on this appreciate all the
15           hard work you are doing.
16                   ARBITRATOR WEINSTEIN:              I want to
17           say on both sides, the writing has been
18           as good as I have seen, and I have seen
19           a lot of writing.             It's been excellent.
20           I want to say to you Mr. Meyer, not --
21           Mr. Feldman, not only do you have the
22           burden of proof, you have the burden of
23           persuasion.         If you think you can
24           distinguish Leegin and you want to brief
25           it, I haven't read Leegin recently but
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 1
 2           if you want to brief it, I will give you
 3           the opportunity but I think that's where
 4           your case rests:            Distinguishing Leegin.
 5                   Most of the cases we talk about are
 6           cases decided before the internet
 7           existed, before this digital age was
 8           upon us which has changed a lot of
 9           stuff.
10                   I must say I act out of fear.                    My
11           fear is if I ruled Uber illegal, I would
12           need security.           I wouldn't be able to
13           walk the streets at night.                 People would
14           be after me.
15                   So I want to thank you for your
16           hospitality.
17                   Do you want to brief it.
18                   MR. FELDMAN:          Of course, yes.
19                   ARBITRATOR WEINSTEIN:              How much
20           time do you want to brief it?
21                   MR. FELDMAN:          I'm not sure.          I
22           would like to talk to Mr. Isaacson.
23                   ARBITRATOR WEINSTEIN:              You can
24           brief whatever you want to brief but I
25           have a good handle on all the arguments
